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January 5, 2024

VIA ECF
Hon. James M. Wicks, U.S.M.J.
United States District Court for the Eastern District of New York
100 Federal Plaza, Courtroom 1020
Central Islip, NY 11722

Re:    Superb Motors Inc. v. JPMorgan Chase Bank, N.A., et al.
       Civil Action No. 2:23-cv-6188

Dear Judge Wicks:

We represent defendant JPMorgan Chase Bank, N.A. (“Chase”) in the above-referenced matter.
Pursuant to Your Honor’s Individual Rules and Practices, we respectfully request a pre-motion
conference regarding a proposed motion to dismiss the First, Second, Forty-Seventh and Forty-
Eighth Causes of Action contained in the Amended Complaint pursuant to Federal Rules of Civil
Procedure 12(b)(6).

The Amended Complaint details a scheme of racketeering by which defendants purportedly
engaged in conduct to extract money from Plaintiffs and leave them with liabilities resulting from
defendants’ conduct. Plaintiffs allege, without any detail, that Chase participated in the scheme
described in the Complaint and violated the RICO statute, 18 U.S.C. § 1962, by allowing
defendant Anthony Deo (“Deo”) to process checks from Superb Motors Inc.’s bank account even
though Chase knew Deo was not a signatory on the account. See Complaint at ¶ 316. Plaintiffs
further allege that Chase was part of a conspiracy in violation of 18 U.S.C. § 1962(d). See
Complaint at ¶¶ 332-341. The remaining allegations against Chase are violations of state law over
which, Plaintiffs claim, the Court may exercise supplemental jurisdiction pursuant to 28 U.S.C. §
1367. See Complaint at ¶¶ 608-630 and ¶¶ 636-641.

   A. Plaintiffs Fail to Allege Facts Sufficient to Establish a RICO Claim and Conspiracy
      in Violation of 18 U.S.C. § 1962 (First and Second Causes of Action).

To establish a claim for civil violation of the RICO statute at 18 U.S.C. § 1962, “a plaintiff must
show that he was injured by defendants’ (1) conduct (2) of an enterprise (3) through a pattern (4)
of racketeering activity.” See Cofacredit, S.A. v. Windsor Plumbing Supply Co., Inc., 187 F.3d
229, 242 (2d Cir. 1999) (quoting Azirelli v. Cohen Law Offices, 21 F.3d 512, 520 (2d Cir. 1994)).
A RICO claim is subject to the heightened pleading standard of Federal Rule of Civil Procedure
9(b). See Plount v. American Home Assurance Co., 668 F. Supp. 204, 206-7 (S.D.N.Y. 1987).


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Plaintiffs have failed to allege an enterprise required under the RICO statute. An enterprise
includes “any individual, partnership, corporation, association, or other legal entity, and any union
or group of individuals associated in fact although not a legal entity.” 18 U.S.C. § 1961(4). To
establish an association-in-fact enterprise, plaintiffs must demonstrate “three structural features:
a purpose, relationships among those associated with the enterprise, and longevity sufficient to
permit these associates to pursue the enterprise’s purpose.” See Boyle v. United States, 556 U.S.
938 (2009). Here, the Amended Complaint is devoid of any facts that would show the existence
of an enterprise to which Chase was a participant. There are no facts alleging a relationship
between Chase and any member of the alleged scheme and there are no allegations regarding
the time in which Chase allegedly participated. General blunderbuss allegations claiming violation
of the RICO statute do not suffice. See In re Agape Litig., 681 F. Supp. 2d 352 (E.D.N.Y. 2010).

Plaintiffs’ RICO conspiracy claim should also be dismissed on the ground that Plaintiffs fail to
identify any predicate acts Chase and the co-defendants agreed to commit. See Elsevier Inc. v.
W.H.P.R., Inc., 692 F. Supp. 2d 297, 313 (S.D.N.Y. 2010). Further, a claim for RICO conspiracy
cannot survive without an underlying properly pled RICO claim. See Gross v. Waywell, 628 F.
Supp. 2d 475, 500 (S.D.N.Y. 2009).

   B. Plaintiff’s Common Law Claims of Negligence and Conversion (Forty-Seventh and
      Forty-Eighth Causes of Action) Are Displaced by the UCC and Should be Dismissed

Plaintiff’s common law claims of negligence and conversion are barred by the UCC, which
preempts certain common law causes of action in New York. See U.S. Small Business Admin. v.
Citibank, N.A., 1997 WL 45514, at *4 (S.D.N.Y. Feb. 4, 1997) (“The NYUCC displaces certain
common law causes of action.”). In those instances where “particular provisions” of the UCC
govern the conduct at issue, a plaintiff will generally be precluded from asserting claims under
common law which would “impose liability inconsistent with the rights and liabilities” created by
the UCC. See Grain Traders, Inc. v. Citibank, N.A., 160 F.3d 97, 103 (2d Cir. 1998) (dismissing
common law claims asserted alongside UCC claims brought under Article 4-A); Fischer & Mandel,
LLP v. Citibank, N.A., 632 F.3d 793, 801 (2d Cir. 2011) (affirming finding that negligence claim
was preempted by UCC); 2006 Frank Calandra, Jr. Irrevocable Trust v. Signature Bank Corp.,
816 F. Supp. 2d 222, 234-35 (S.D.N.Y. 2011) (same).

Here, the allegations all concern the negotiation of certain checks drawn on accounts maintained
at Chase; as such, any claims concerning those checks must be litigated under the provisions of
the UCC, and not according to common law principles.

Enclosed please find a proposed briefing scheduling order, which was twice circulated to counsel.
We have received no objections. Please note that in view of Mr. Thomasson’s disqualification as
counsel for the Deo Defendants, we have not been able to secure the consent of the Deo
Defendants as to the scheduling order. Thank you.

Respectfully Submitted,

/s/ Anthony C. Valenziano
Anthony C. Valenziano
Encl.

cc: All Counsel of Record (via ECF with encl.)
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                                                     UNITED STATES DISTRICT COURT
SUPERB MOTORS INC., TEAM AUTO SALES                  EASTERN DISTRICT OF NEW YORK
LLC, ROBERT ANTHONY URRUTIA, 189
SUNRISE HWY AUTO LLC, NORTHSHORE                      Case No.: 2:23-cv-6188 (OEM)(JMW)
MOTOR LEASING, LLC, BRIAN CHABRIER,
individually and derivatively as a member of
NORTHSHORE MOTOR LEASING, LLC,
JOSHUA        AARONSON,       individually   and
derivatively as a member of 189 SUNRISE HWY
AUTO, LLC, JORY BARON, 1581 HYLAN
BLVD AUTO LLC, 1580 HYLAN BLVD AUTO
LLC, 1591 HYLAN BLVD AUTO LLC, 1632
HYLAN BLVD AUTO LLC, 1239 HYLAN BLVD
AUTO LLC, 2519 HYLAN BLVD AUTO LLC, 76
FISK STREET REALTY LLC, 446 ROUTE 23
AUTO        LLC      and     ISLAND        AUTO
MANAGEMENT, LLC,

                                       Plaintiffs,
                       v.

ANTHONY DEO, SARAH DEO, HARRY                        PROPOSED SCHEDULING ORDER
THOMASSON,    DWIGHT    BLANKENSHIP,
MARC MERCKLING, MICHAEL LAURIE,
THOMAS JONES, CPA, CAR BUYERS NYC
INC., GOLD COAST CARS OF SYOSSET LLC,
GOLD COAST CARS OF SUNRISE LLC, GOLD
COAST MOTORS AUTOMOTIVE GROUP LLC,
GOLD COAST MOTORS OF LIC LLC, GOLD
COAST MOTORS OF ROSLYN LLC, GOLD
COAST MOTORS OF SMITHTOWN LLC, UEA
PREMIER MOTORS CORP., DLA CAPITAL
PARTNERS INC., JONES, LITTLE & CO.,
CPA’S LLP, FLUSHING BANK, LIBERTAS
FUNDING LLC, and J.P. MORGAN CHASE
BANK, N.A.,

                                    Defendants.
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                Upon consent of the parties, it is hereby ORDERED as follows:

    1.          JPMorgan Chase Bank, N.A. (hereinafter, “Chase”) shall serve its papers in

         support of its motion to dismiss the Amended Complaint as against Chase on or before

         February 5, 2024.

    2.          Opposition to Chase’s motion to dismiss the Amended Complaint shall be served

         on or before March 11, 2024.

    3.          Chase’s reply papers, if any, in further support of its motion to dismiss the

         Amended Complaint shall be served on or before April 1, 2024.

                This Scheduling Order may be altered or amended upon a showing of good cause

    not foreseeable at the date hereof.



         CONSENTED TO BY:

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        446 Route 23 Auto, LLC,
        76 Fisk Street Realty, LLC,
        Island Auto Management, LLC,
        Northshore Motor Leasing, LLC,
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SO ORDERED:




________________________________               __________________________

Hon. James M. Wicks, U.S.M.J.                  Date
4865-7492-1368, v. 1




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